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                  EXHIBIT B
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        Preliminary Report on the Newly Enacted Georgia State House and Senate Plans
                                           Dr. Lisa Handley


I. Introduction
          Summary Conclusion Voting in the six areas of Georgia that I studied for this project is
racially polarized. This polarization impedes the ability of Black voters to elect candidates of their
choice unless districts are drawn that provide Black voters with an opportunity to elect their
preferred candidates to the state legislature. As demonstrated by illustrative state house and state
senate plans, the newly enacted state legislative plans (Enacted State House Plan and Enacted State
Senate Plan) fail to offer Black voters an opportunity to elect their preferred candidates in areas of
the state where voting is racially polarized and where majority Black opportunity districts could
have been created. The failure of the Enacted Plans to provide more Black opportunity districts
dilutes the opportunity of Black voters to participate in the electoral process and to elect candidates
of their choice to the Georgia state legislature.
          Scope of Project I was retained by plaintiffs in this case as an expert to conduct an
analysis of voting patterns by race in several areas in the State of Georgia to determine whether
voting in these areas is racially polarized. In addition, I was asked to assess the ability of Black
voters to elect their candidates of choice in these areas of the Enacted Plans compared to the
illustrative plans (Illustrative State House and Illustrative State Senate Plan) drawn by plaintiffs’
expert demographer, Bill Cooper, in this litigation. 1


II. Professional Background and Experience
          I have over thirty-five years of experience as a voting rights and redistricting expert. I
have advised scores of jurisdictions and other clients on minority voting rights and redistricting-
related issues. I have served as an expert in dozens of voting rights cases. My clients have
included state and local jurisdictions, independent redistricting commissions (Arizona, Colorado,
Michigan), the U.S. Department of Justice, national civil rights organizations, and such
international organizations as the United Nations.
          I have been actively involved in researching, writing, and teaching on subjects relating to
voting rights, including minority representation, electoral system design, and redistricting. I co-

1
    I am being compensated at a rate of $300 an hour for work on this project.
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authored a book, Minority Representation and the Quest for Voting Equality (Cambridge
University Press, 1992), and co-edited a volume, Redistricting in Comparative Perspective
(Oxford University Press, 2008), on these subjects. In addition, my research on these topics has
appeared in peer-reviewed journals such as Journal of Politics, Legislative Studies Quarterly,
American Politics Quarterly, Journal of Law and Politics, and Law and Policy, as well as law
reviews (e.g., North Carolina Law Review) and a number of edited books. I hold a Ph.D. in
political science from The George Washington University.
       I have been a principal of Frontier International Electoral Consulting since co-founding the
company in 1998. Frontier IEC specializes in providing electoral assistance in transitional
democracies and post-conflict countries. In addition, I am a Visiting Research Academic at Oxford
Brookes University in Oxford, United Kingdom. Attached to the end of this report as Appendix D
is a copy of my curriculum vitae.


III. Analysis of Voting Patterns by Race
       An analysis of voting patterns by race serves as the foundation of two of the three elements
of the “results test” as outlined in Thornburg v. Gingles: a racial bloc voting analysis is needed to
determine whether the minority group is politically cohesive; and the analysis is required to
determine if whites are voting sufficiently as a bloc to usually defeat the candidates preferred by
minority voters. The voting patterns of white and minority voters must be estimated using
statistical techniques because direct information about the race of the voters is not, of course,
available on the ballots cast.
       To carry out an analysis of voting patterns by race, an aggregate level database must be
constructed, usually employing election precincts as the units of observation. Information
relating to the demographic composition and election results in these precincts is collected,
combined, and statistically analyzed to determine if there is a relationship between the racial
composition of the precincts and support for specific candidates across the precincts.
       Standard Statistical Techniques Three standard statistical techniques have been
developed over time to estimate vote choices by race: homogeneous precinct analysis, ecological




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regression, and ecological inference. 2 Two of these analytic procedures – homogeneous precinct
analysis and ecological regression – were employed by the plaintiffs’ expert in Thornburg v.
Gingles, have the benefit of the Supreme Court’s approval in that case, and have been used in
most subsequent voting rights cases. The third technique, ecological inference, was developed
after the Gingles decision and was designed, in part, to address some of the disadvantages
associated with ecological regression analysis. Ecological inference analysis has been introduced
and accepted in numerous district court proceedings.
       Homogeneous precinct (HP) analysis is the simplest technique. It involves comparing the
percentage of votes received by each of the candidates in precincts that are racially or ethnically
homogeneous. The general practice is to label a precinct as homogeneous if at least 90 percent of
the voters or voting age population is composed of a single race. In fact, the homogeneous results
reported are not estimates – they are the actual precinct results. However, most voters in Georgia
do not reside in homogeneous precincts and voters who reside in homogeneous precincts may
not be representative of voters who live in more racially diverse precincts. For this reason, I refer
to these percentages as estimates.
       The second statistical technique employed, ecological regression (ER), uses information
from all precincts, not simply the homogeneous ones, to derive estimates of the voting behavior
of minorities and whites. If there is a strong linear relationship across precincts between the
percentage of minorities and the percentage of votes cast for a given candidate, this relationship
can be used to estimate the percentage of minority voters supporting the candidate.
       The third technique, ecological inference (EI), was developed by Professor Gary King.
This approach also uses information from all precincts but, unlike ecological regression, it does
not rely on an assumption of linearity. Instead, it incorporates maximum likelihood statistics to
produce estimates of voting patterns by race. In addition, it utilizes the method of bounds, which
uses more of the available information from the precinct returns as well as providing more




2
 For a detailed explanation of homogeneous precinct analysis and ecological regression see
Bernard Grofman, Lisa Handley and Richard Niemi, Minority Representation and the Quest for
Voting Equality (Cambridge University Press, 1992). See Gary King, A Solution to the
Ecological Inference Problem (Princeton University Press, 1997) for a more detailed explanation
of ecological inference.


                                                                                                      3
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information about the voting behavior being estimated. 3 Unlike ecological regression, which can
produce percentage estimates of less than 0 or more than 100 percent, ecological inference was
designed to produce only estimates that fall within the possible limits. However, EI does not
guarantee that the estimates for all of the candidates add to 100 percent for each of the racial
groups examined.
          Database To analyze voting patterns by race using aggregate level information, a database
that combines election results with demographic information is required. This database is almost
always constructed using election precincts as the unit of analysis. The demographic composition
of the precincts is based on voter registration or turnout by race if this information is available; if it
is not, then voting age population or citizen voting age population is used. Georgia collects voter
registration data by race, and the 2016, 2018, and 2020 reports of turnout counts by race and
ethnicity were obtained from the Georgia Secretary of State’s office for inclusion in the database.
          To build the Georgia dataset used for this racial bloc voting analysis, 2016, 2018, and 2020
precinct-level shapefiles were acquired from the Voting and Election Science Team. These
shapefiles were joined to precinct-level election returns from the Georgia Secretary of State’s
office, which were processed and cleaned by OpenElections. The 2020 Census Block shapefiles,
and total and voting age populations by race and ethnicity, were obtained from the Census FTP
portal.
          The election returns for the 2016, 2018, and 2020 election cycles were disaggregated down
to the level of the 2020 Census block. This block-level dataset was then reaggregated up to the
level of the 2020 voting districting, taking into account splits of the voting districts by the
implemented and proposed plans.
          Plan comparisons were made using the Georgia newly enacted state senate and house
plans, which were acquired as census block equivalency files. The Illustrative state house and
senate files were obtained from plaintiffs’ expert demographer, Bill Cooper, also as census block
equivalency files.


3
  The following is an example of how the method of bounds works: if a given precinct has
100 voters, of whom 75 are Black and 25 are white, and the Black candidate received 80 votes,
then at least 55 of the Black voters voted for the Black candidate and at most all 75 did. (The
method of bounds is less useful for calculating estimates for white voters, as anywhere between
none of the whites and all of the whites could have voted for the candidate.)


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       Statewide elections analyzed All recent statewide election contests that included Black
candidates were analyzed. 4 The general elections included the 2021 Special U.S. Senate runoff, the
2020 U.S. Senate Special general election, and the 2018 general election contests for Governor,
Commissioner of Insurance, and School Superintendent. I also analyzed recent statewide
Democratic primaries that included Black candidates, including the 2018 Democratic primaries for
Governor, Lieutenant Governor, Commissioner of Insurance, School Superintendent, and
Commissioner of Labor. Republican primaries were not examined because the overwhelming
majority of Black voters who participate in primaries cast their ballots in Democratic rather than
Republican primaries. As a consequence, Democratic primaries are far more probative than
Republican primaries in ascertaining the candidates preferred by Black voters. 5
       Geographic areas analyzed I examined voting patterns in six areas of Georgia where the
Illustrative Plans offer districts with majority Black voting age populations (BVAP), 6 that the
Enacted Plans fail to provide. Although the Illustrative Plans offers more majority Black state
senate and state house districts than the seven found in the six regions discussed below, 7 my
analysis focuses on these six areas because the majority Black districts in these areas are readily
identifiable as “additional” when portions of the Enacted and Illustrative districts are compared.
The six areas of interest, the set of Illustrative and Enacted districts being compared in each of




4
 In addition to the five recent general election contests that included Black candidates, I
analyzed the two contests in which Jon Ossoff ran – the 2021 runoff for U.S. Senate and the
November 2020 general election for U.S. Senate.
5
 In addition, producing reliable estimates for Black voters in Republican primaries would not
have been possible.
6
 Black voting age population has been calculated by counting all persons who are 18 or older
who checked “Black or African American” on their census form. This includes persons who are
single-race Black or any part Black (i.e., persons of two or more races who indicate “Black” as
one of the races), including Hispanic Black.
7
 The Enacted Plans create 14 majority Black VAP state senate districts and 49 majority Black
VAP state house districts. The Illustrative Plans create 19 majority Black VAP state senate
districts and 54 majority Black VAP state house districts.


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these areas, and the counties encompassed by these areas, 8 are listed in Table 1. The additional
majority Black districts offered in each area by the Illustrative Plans are bolded.


                           Table 1: Georgia Areas of Interest Analyzed


    Area of Interest   Illustrative    Enacted       Counties
                         Districts     Districts

                                      State Senate Districts
    Eastern Atlanta        10             10         Dekalb, Henry, Morgan, Newton,
    Metro Region           17             17         Rockdale, Walton
    (Map 1)                43             43

    Southern Atlanta       16             16         Clayton, Coweta, Douglas, Fayette,
    Metro Region           28             28         Heard, Henry, Lamar, Meriwether, Pike,
    (Map 2)                34             34         Spalding, Upson
                           44             44

    East Central           22             22         Baldwin, Bibb, Burke, Butts, Columbia,
    Georgia with           23             23         Emanuel, Glascock, Hancock, Henry,
    Augusta                25             25         Houston, Jasper, Jefferson, Jenkins,
    (Map 3)                26             26         Johnson, Jones, McDuffie, Macon,
                                                     Morgan, Peach, Putnam, Richmond,
                                                     Screven, Taliaferro, Twiggs, Walton,
                                                     Warren, Washington, Wilkinson
                                      State House Districts
    Southeastern            73             74        Butts, Clayton, Fayette, Henry, Jasper,
    Atlanta Metro           75             75        Lamar, Monroe, Newton, Putnam,
    Region                  78             78        Spalding
    (Map 4)                109            115
                           110            116
                           111            117
                           129            118
                           131            134




8
 All counties that overlapped any of the Illustrative or Enacted districts in the area were included
in the analysis unless the county is very large (population over 500,000) and less than 10% of the
county’s population is encompassed by an Illustrative or Enacted district in the area.

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 Central Georgia           120              124          Baldwin, Burke, Clarke, Glascock,
 (Map 5)                   128              128          Greene, Hancock, Jefferson, Johnson,
                           144              133          Jones, Laurens, McDuffie, Morgan,
                           145              155          Oglethorpe, Putnam, Taliaferro, Walton,
                                                         Warren, Washington, Wilkes, Wilkinson
 Southwest                 151              151          Brooks, Chattahoochee, Decatur,
 Georgia                   153              152          Dougherty, Grady, Lee, Lowndes,
 (Map 6)                   171              153          Marion, Mitchell, Schley, Seminole,
                           173              171          Stewart, Sumter, Terrell, Thomas,
                                                         Webster, Worth



IV. Findings
        Voting is racially polarized in the six areas of Georgia I examined Voting is racially
polarized in the six areas of Georgia that I examined. In all seven recent general elections I
analyzed, Black voters were cohesive in supporting their preferred candidates and the white voters’
bloc voted against these candidates. The average percentage of the white vote for Black-preferred
Black candidates is no higher than 13.8% in these six areas (13.8% is the average white vote for
Raphael Warnock in 2021 across the six areas).
        Recent Democratic primaries that included Black candidates were also consistently racially
polarized in all six areas. The only regular exceptions to this were the two recent Democratic
primaries in which Black voters supported white candidates (Jon Ossoff in the 2020 primary for
U.S. Senate and Jim Barksdale in his bid for the Democratic nomination for U.S. Senate in 2016).
The estimates of Black and white voting patterns for these statewide general and Democratic
primaries can be found in Appendix A.
        My examination of voting patterns in these areas also included state legislative elections. A
state legislative contest was analyzed if the previously existing state house or state senate district
was wholly contained within one of the areas or overlapped with the additional majority Black
Illustrative district(s) in an area. In addition, I looked only at biracial contests (that is, contests that
included both Black and white candidates). There were eight recent state senate contests and 16
state house contests that met these criteria. All 24 of these state legislative elections were racially
polarized. None of the Black candidates competing in the state senate contest analyzed garnered as
much as 8% of the white vote – the average over the eight contests was only 4.6%. Black
candidates fared slightly better in the state house contests, averaging 9.4% of the white vote. The


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only Black candidates to win were the candidates who ran in majority Black state legislative
districts.
        The estimates of Black and white voting patterns for the state legislative election contests
analyzed can be found in Appendix B.
        The Previous Plans failed to provide Black voters with opportunities to elect their
preferred candidates that the Illustrative Plans would provide Legislative districts in the
previous plans located in the same areas as the additional Illustrative majority Black districts
failed to provide Black voters with an opportunity to elect their candidates of choice in past state
legislative elections. Table 2 lists the previous state senate and house districts that overlap with
the additional majority Black districts offered by the Illustrative Plans. A previous district must
incorporate at least 5% of the Illustrative district to be included in the table, and the percentage
of the Illustrative district included is specified. The shaded districts are the previous districts I
have used as comparison districts – they are almost always the previous districts with the largest
overlap with the additional majority Black Illustrative districts.




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            Table 2: Overlap of Additional Illustrative State Legislative Districts with
                                  Previous State Legislative Districts


                               % of                                                   % of
Illustrative   Previous   Illustrative                 Illustrative   Previous   Illustrative
    State        State     District in                     State        State     District in
   Senate       Senate      Previous                      House        House       Previous
    Plan         Plan        District    BVAP %            Plan         Plan        District    BVAP %
     017          010         17.6%       74.98%            073          063         13.6%       71.31%
     017          017         53.7%       41.72%            073          073         38.0%       35.12%
     017          043         28.5%       68.74%            073          075          6.4%       74.27%
                                                            073          078         41.8%       68.59%
    023           022        13.4%        58.76%
    023           023        30.3%        35.62%           110          073         19.4%        35.12%
    023           025        22.7%        28.50%           110          111         23.1%        51.56%
    023           026        29.5%        60.14%           110          130         57.5%        36.30%

    028           016        40.7%        22.00%           144          120         12.6%        26.62%
    028           034        27.7%        68.34%           144          128         23.6%        54.62%
    028           044        31.6%        72.43%           144          144         15.0%        27.24%
                                                           144          145         48.8%        38.94%

                                                           153          153         33.4%        65.15%
                                                           153          171         36.1%        38.61%
                                                           153          172          8.1%        27.69%
                                                           153          173         21.4%        35.38%



          According to Table 2, Illustrative senate district 17 overlaps the most with Previous state
senate district 17. Previous state senate district 17, with a BVAP of 41.72%, did not elect state
senators that were the candidates of choice of Black voters. In 2016, Richard Jeffares won the
seat with overwhelming support from white voters and virtually no support from Black voters.
Brian Strickland’s election in 2018 followed the same pattern: nearly all of the white voters cast
their vote for him and virtually none of the Black voters did so. The estimates for these two
contests can be found in Appendix B. 9

9
 The 2020 election is not included in Appendix B because only white candidates competed.
However, my analysis of the election indicates that white voters again provided overwhelming
support to Strickland, while Black voters overwhelmingly supported his opponent, who was
defeated.


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        Previous state senate district 23, with the highest overlap percentage with Illustrative state
senate district 23, has had only one recent contested election. The estimates for this election can be
found in Appendix B. Over 90% of white voters supported the White candidate, Max Burns, while
Black voters overwhelmingly supported his Black opponent, Ceretta Smith, who lost the contest.
        Illustrative state senate district 28 overlaps the most with Previous state senate district 16,
which had a 22.0% BVAP. The 2020 election contest for this seat was racially polarized, with over
90% of white voters supporting the winning white candidate and well over 90% of the Black voters
supporting his Black opponent. (See Appendix B.) Only white candidates competed for the seat in
2018; 10 there was no contested election in this district in 2016.
        Although Table 2 indicates that Illustrative state house district 73 overlaps the most with
Previous state house district 78, which did provide Black voters with an opportunity to elect their
candidates of choice, Illustrative District 73 is an additional majority Black district because
Previous state house district 73 was not an effective Black district. Previous state house district 73,
with a 35.12% BVAP, had one recent election that included a Black candidate. In this 2016
election, the Black candidate garnered nearly all of the Black vote but none of the white vote and
lost to the candidate supported by white voters. 11 (See Appendix B.)
        Illustrative house district 110 overlaps the most with Previous district 130, which had a
BVAP of 36.30%. The only recent contested election for this seat was in 2020. White voters
overwhelmingly supported the winner, while Black voters overwhelmingly supported his Black
opponent. (See Appendix B.)
        Recent elections in Previous state house district 145, which has the highest overlap with
Illustrative state house district 144, also failed to provide Black voters with an opportunity to
elect their candidates of choice. The district elections in 2016 and 2020 (there was no contested




10
  Because the 2018 election for this district included only white candidates, it is not included in
Appendix B. However, my analysis of this election contest indicates that it was also starkly
polarized and the candidate supported by Black voters lost to the candidate supported by white
voters.
11
  The 2020 election included only white candidates and therefore is not in Appendix B.
However, my analysis of the election contest indicates that it was racially polarized and the
candidate overwhelmingly preferred by Black voters was defeated by the candidate of choice of
white voters. There was no contested election in 2018.

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election in 2018) were starkly polarized and the Black candidate, despite overwhelming support
from Black voters, lost to the white voters’ candidate of choice. (See Appendix B.)
       There have been no recent contested elections in Previous state house district 171 – the
district that Illustrative state house district 153 overlaps with the most. The district had a BVAP
of 36.1% and consistently elected a white Republican to the Georgia state house.
       The Enacted Plans continue to fail to provide Black voters with opportunities to elect
their preferred candidates that the Illustrative Plans would provide In order to determine if a
proposed district is likely to provide minority voters with an opportunity to elect their candidates
of choice, a district-specific, functional analysis is necessary. This assessment depends not only
upon the demographic composition of the district but the voting patterns in that district and
whether the candidates preferred by minority voters can actually win in the district – this is what
is meant by “functional.” In the case of the Enacted and Illustrative districts, election results
recompiled to conform to the boundaries of the newly enacted and illustrative districts must be
used to make this determination.
       The best election contests to use for a functional analysis are recent elections that
included a viable major party minority candidate supported by minority voters but not by white
voters. Five recent statewide general election contests in Georgia satisfy these conditions: the
2021 and 2020 special general and special runoff elections for U.S. Senate, with Raphael
Warnock; the 2018 race for Governor, in which Stacey Abrams ran; and the 2018 contests for
Commissioner of Insurance and School Superintendent, in which Black candidates Janice Laws
and Otha Thornton competed, respectively. After recompiling the election results for these five
contests to conform to the boundaries of the districts, an average of the five vote proportions for
the Black-preferred candidates was calculated. I refer to this average as the general election
effectiveness score (GE score).
       To provide an indication of how Black-preferred candidates would fare in Democratic
primaries (Black voters are far more likely to choose to vote in Democratic primaries than
Republican primaries in Georgia), six recent statewide Democratic primaries were used to
construct a Democratic primary “effectiveness” score (DPr score). The primaries chosen, and the
name of the Black candidate supported by Black voters in each of these primary contests, are as
follows:
               •   2018 Governor with Stacey Abrams


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                •   2018 Lieutenant Governor with Tirana Arnold James
                •   2018 Commissioner of Insurance with Janice Laws
                •   2018 School Superintendent with Otha Thornton
                •   2018 Commissioner of Labor with Fred Quinn
                •   2018 Secretary of State with Dee Dawkins-Haigler

         If a district is majority BVAP or has a significant BVAP and recompiled election results
for that district produced a score of at least 0.5 on both the GE and the DPr indices, I deemed the
district likely to provide Black voters with an opportunity to elect their candidates of choice. If
not, I deemed the district not likely to provide Black voters with an opportunity to elect their
candidates of choice (i.e., the candidates preferred by Black voters would typically lose to
candidates preferred by white voters). As the plan comparison tables (Plan Comparison Tables 1-
6), below, will show, Black voters would have a greater opportunity to elect their candidates of
choice in the Illustrative legislative districts highlighted than in the Enacted districts in the same
area.
         In all six areas of Georgia that I examined, voting is racially polarized, and the Enacted
Plans fail to provide seven majority Black districts that would provide Black voters with the
opportunity to elect their candidates of choice that the Illustrative Plans demonstrate can be
drawn. The following provides a brief description of the six areas, along with maps and district
comparison tables.
         Eastern Atlanta Metro Region Voting is racially polarized in this area – in all seven of the
general elections and in five of the eight Democratic primaries, Black and white voters supported
different candidates. The Enacted Senate Plan fails to provide a majority Black opportunity district
that the Illustrative Plan offers in this area (labeled District 17), as shown in Map and Comparison
Table 1.
         Southern Atlanta Metro Region Voting in the seven general elections and six of the eight
Democratic primaries analyzed was racially polarized. The Enacted Senate Plan fails to provide a
majority Black opportunity district that the Illustrative Plan offers in this area (District 28), as
shown in Map and Comparison Table 2.
         East Central Georgia Voting in the seven general elections and six of the eight Democratic
primaries was racially polarized in this area of the State. The Enacted Senate Plan fails to provide a


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majority Black opportunity district that the Illustrative Plan offers in this area (District 23), as
shown in Map and Comparison Table 3.
        Southeastern Atlanta Metro Region Voting is racially polarized in this area – in all seven of
the general elections and six of the eight Democratic primaries, Black and white voters supported
different candidates. The Enacted House Plan fails to draw two Black majority opportunity districts
that the Illustrative Plan offers in this area (Districts 73 and 110), as shown in Map and
Comparison Table 4.
        Central Georgia Voting in the seven of the general elections analyzed and in at least four
of the eight Democratic primaries was racially polarized in this area of the State. The Enacted
House Plan fails to provide a majority Black opportunity district that the Illustrative Plan offers in
this area (District 144), as shown in Map and Comparison Table 5.
        Southwest Georgia Voting is racially polarized in this area of the State. In all seven of the
general elections and at least four of the eight Democratic primaries, Black and white voters
supported different candidates. The Enacted State House Plan fails to provide a majority Black
opportunity district that the Illustrative plan offers in this area (District 153), as shown in Map and
Comparison Table 6.




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                          Map 1: Eastern Atlanta Metro Region

                  Map 1a: Illustrative State Senate Districts 10, 17 and 43




                   Map 1b: Enacted State Senate Districts 10, 17, and 43




                                     Comparison Table 1

Illustrative                                              Enacted
     District   BVAP %   GE score   DPr score             District   BVAP %   GE score   DPr score
          10     69.8%      0.809       0.599                  10     71.5%      0.758       0.638
          17     62.5%      0.635       0.631                  17     32.0%      0.352       0.575
          43     58.1%      0.614       0.613                  43     64.3%      0.686       0.623



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                            Map 2: Southern Atlanta Metro Region


                  Map 2a: Illustrative State Senate Districts 16, 28, 34, and 44




                   Map 2b: Enacted State Senate Districts 16, 28, 34, and 44




                                       Comparison Table 2

Illustrative                                             Enacted
     District   BVAP %   GE score   DPr score             District   BVAP %    GE score   DPr score
          16     19.0%      0.283       0.517                  16     22.7%       0.317       0.528
          28     52.7%      0.592       0.606                  28     19.5%       0.287       0.527
          34     77.8%      0.863       0.623                  34     69.5%       0.791       0.618
          44     55.1%      0.623       0.612                  44     71.3%       0.834       0.600



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                                    Map 3: East Central Georgia


                  Map 3a: Illustrative State Senate Districts 22, 23, 25, and 26




                   Map 3b: Enacted State Senate Districts 22, 23, 25, and 26




                                        Comparison Table 3

Illustrative                                             Enacted
     District   BVAP %   GE score   DPr score             District   BVAP %    GE score   DPr score
          22     52.2%      0.593       0.599                  22     56.5%       0.647       0.603
          23     50.5%      0.519       0.588                  23     35.5%       0.378       0.585
          25     22.0%      0.254       0.539                  25     33.5%       0.374       0.572
          26     54.0%      0.600       0.611                  26     57.0%       0.608       0.585


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                   Map 4: Southeastern Atlanta Metro Area


  Map 4a: Illustrative State House Districts 73, 75, 78, 109, 110, 111, 129, 131




   Map 4b: Enacted State House Districts 74, 75, 78, 115, 116, 117, 118, 134




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                                    Comparison Table 4

Illustrative                                       Enacted
    District   BVAP %   GE score   DPr Score        District   BVAP %    GE score   DPr Score


         73     60.6%     0.661       0.630              74     25.5%      0.341        0.577
         75     68.0%     0.805       0.616              75     74.4%      0.831        0.621
         78     55.1%     0.648       0.611              78     71.6%      0.773        0.613
       109      55.9%     0.610       0.617            115      52.3%      0.546        0.623
       110      52.4%     0.561       0.588            116      58.1%      0.651        0.630
       111      55.8%     0.582       0.622            117      36.6%      0.414        0.591
       129      21.1%     0.246       0.540            118      23.6%      0.253        0.551
       131      25.1%     0.268       0.531            134      33.6%      0.342        0.540




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                                   Map 5: Central Georgia

               Map 5a: Illustrative State House Districts 120, 128, 144, 145




               Map 5b: Enacted State House Districts 124, 128, 133, and 155




                                    Comparison Table 5

Illustrative                                       Enacted
    District   BVAP %   GE Score    DPr Score       District   BVAP %    GE Score      DPr Score
       120      26.2%      0.437       0.519           124      25.6%          0.366      0.534
       128      56.1%      0.486       0.566           128      50.4%          0.463      0.566
       144      50.5%      0.535       0.585           133      36.5%          0.422      0.582
       145      21.1%      0.273       0.529           155      35.9%          0.313      0.569



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                                     Map 6: Southwest Georgia

               Map 6a: Illustrative State House Districts 151, 153, 171, and 173




                Map 6b: Enacted State House Districts 151, 152, 153, and 171




                                       Comparison Table 6

Illustrative                                          Proposed
    District    BVAP %    GE Score     DPr Score        District   BVAP %    GE Score   DPr Score
       151       56.6%       0.528        0.633             151     42.4%       0.443       0.603
       153       58.0%       0.538        0.638             152     26.1%       0.273       0.615
       171       35.6%       0.322        0.590             153     67.9%       0.636       0.651
       173       27.6%       0.288        0.582             171     39.6%       0.352       0.588



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       Additional majority BVAP districts in the Illustrative Plans draw population from
Enacted districts that would fail to provide an opportunity to elect As the previous discussion
demonstrates, the Enacted State Senate and House Plans fail to provide Black voters with an
opportunity to elect their candidates of choice in areas of the State where voting is racially
polarized and where the Illustrative Plans show majority BVAP districts can be drawn. The
seven additional majority Black Illustrative districts I focus on in this report were all drawn by
pulling in population from at least one district in an Enacted Plan that fails to provide Black
voters with an opportunity to elect their preferred candidates. The two tables below, Table 3 and
Table 4, identify the Enacted districts that overlap with each Illustrative district analyzed by at
least 5%, the percent of the Enacted district that overlaps with the Illustrative district, and
indicate which of the Enacted districts are Black opportunity districts and which are not by
reporting the percentage BVAP, and the GE and DPr scores. (Appendix C contains the same
comparative information for the Illustrative and Previous State House and State Senate Plans.)


                Table 3: Illustrative and Enacted State Senate District Overlaps

                        Overlaps
            New                             %
                          with                          Effectiveness of Enacted Districts
        Illustrative                   Illustrative
                        Enacted
            State                       District in
                          State
           Senate                        Enacted
                         Senate                         BVAP %       GE score      DPr score
          District                       District
                        Districts
             17             10            20.2%               71.5        0.758         0.638
                            17            37.9%               32.0        0.352         0.575
                            43            30.4%               64.3        0.686         0.623
                            25             6.1%               33.5        0.374         0.572

             23             22            13.4%               56.5        0.647         0.603
                            23            31.1%               35.5        0.378         0.585
                            25            22.7%               33.5        0.374         0.572
                            26            32.9%               57.0        0.608         0.585

             28             16            44.3%               22.7        0.317         0.528
                            34            26.1%               69.5        0.791         0.618
                            44            29.7%               71.3        0.834         0.600




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                     Table 4: Illustrative and Enacted State House District Overlaps

                          Overlaps
           New
                            with       % Illustrative     Effectiveness of Enacted Districts
       Illustrative
                          Enacted       District in
           State
                           State         Enacted
          House
                           House         District         BVAP %       GE score      DPr score
         District
                          Districts
               73             74           38.2%                25.5        0.341          0.577
                              75            8.8%                74.4        0.831          0.621
                              78           46.2%                71.6        0.773          0.613
                             116            6.9%                58.1        0.651          0.630

               110            74            9.9%                25.5        0.341          0.577
                             116            8.7%                58.1        0.651          0.630
                             117           39.6%                36.6        0.414          0.591
                             134           41.8%                33.6        0.342          0.540

               144           124           12.5%                25.6        0.366          0.534
                             128           32.4%                50.4        0.463          0.566
                             133           36.7%                36.5        0.422          0.582
                             149           15.0%                29.4        0.312          0.556

               153           153           31.0%                68.0        0.636          0.651
                             171           36.1%                39.6        0.352          0.588
                             173           27.1%                36.3        0.357          0.618

VII. Conclusion
        My analysis of voting patterns by race found that the Black community in the six
areas of Georgia that I examined is cohesive in supporting their preferred candidates and
that white voters consistently bloc vote to defeat these candidates in areas where Black
majority opportunity districts could have been created but were not. Racially polarized
voting substantially impedes the ability of Black voters to elect candidates of their choice to
the Georgia state legislature in these areas unless districts are drawn to provide Black
voters with this opportunity. The Enacted State Senate and House Plans dilute the voting
strength of Black voters in Georgia by failing to create additional districts in these areas
that offer Black voters an opportunity to elect their candidates of choice to the state
legislature.
                                                   ***

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I reserve the right to modify and/or supplement my opinions, as well as to offer new opinions.


Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and
correct.


Respectfully submitted and executed on January 7, 2022.




                                              ________________________________
                                              Dr. Lisa Handley




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              Appendix A
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                                          Estimates of Voting Patterns by Race in Recent Statewide Elections
   Eastern Atlanta Metro
     Region (Area 1)                                  Black Voters                      White Voters
                             Race Party     HP            ER           EI          HP       ER          EI
        2021 Runoffs
US Special Senate Runoff
Raphael Warnock              B    D                         103.6           99.6               37.5          33.8
Kelly Loeffler               W    R                          -3.8            0.4               62.4          66.3

US Senate Runoff
Jon Ossoff                   W    D                         103.6           99.4               36.6          32.7
David Perdue                 W    R                          -3.6            0.5               63.4          67.0

        2020 General
US Senate
Jon Ossoff                   W    D                         100.6           99.4               35.0          31.7
Shane Hazel                  W    L                           2.0            2.0                2.1           2.1
David Perdue                 W    R                          -2.6            0.5               62.9          68.0

US Special Senate
Raphael Warnock              B    D                          71.3           75.2               30.3          27.2
Doug Colllins                W    R                          -1.1            0.6               22.1          23.8
Kelly Loeffler               W    R                          -2.5            0.7               37.3          40.0
Others                                                       32.3           31.7               10.3           8.7

        2018 General
Governor
Stacey Abrams                B    D            98.0         103.2           99.5               33.6          34.4
Ted Metz                     W    L             0.2           0.1            0.2                1.5           1.3
Brian Kemp                   W    R             1.8          -3.3            0.4               64.9          64.7

Commissioner of Insurance
Janice Laws               B       D            96.2         101.5           99.5               30.6          31.2
Donnie Foster             W       L             1.5           1.6            1.4                3.8           3.9
Jim Beck                  W       R             2.3          -3.0            0.5               65.6          66.7

School Superintendent
Otha Thornton                B    D            96.9         102.8           99.4               29.1          30.4
Richard Woods                W    R             3.1          -2.8            0.5               70.8          69.6

  2020 Democratic Primary
US Senate
James Knox                   B    D             3.3           4.3            4.1                0.0           0.8
Jon Ossoff                   W    D            62.5          60.6           60.7               53.9          53.4
Marckeith DeJesus            B    D             3.3           4.5            4.3                0.6           0.0
Maya Dillard Smith           B    D             8.5          10.8           10.9                1.3           1.3
Sarah Riggs Amico            W    D            11.4          13.0           12.6                5.8           6.1
Teresa Pike Tomlinson        W    D             8.4           3.5            5.9               38.1          37.0
Tricia Carpenter McCracken   W    D             2.6           3.2            3.2                0.2           0.5
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                                         Estimates of Voting Patterns by Race in Recent Statewide Elections
   Eastern Atlanta Metro
     Region (Area 1)                                 Black Voters                           White Voters
                            Race Party     HP            ER           EI          HP            ER         EI
  2018 Democratic Primary
Governor
Stacey Abrams               B    D            87.5          87.4           88.7                    62.4         64.0
Stacey Evans                W    D            12.5          12.6           11.3                    37.6         36.1

Lieutenant Governor
Sarah Riggs Amico           W    D            43.0          38.8           38.8                    93.9         94.0
Triana Arnold James         B    D            57.0          61.2           61.2                     6.1          6.0

Commissioner of Insurance
Cindy Zeldin              W      D            28.2          20.8           23.4                    82.5         83.7
Janice Laws               B      D            71.8          79.2           76.6                    17.6         16.2

Commissioner of Labor
Fred Quinn                  B    D            53.5          54.8           54.7                    32.3         31.7
Richard Keatley             W    D            46.5          45.3           45.3                    67.7         68.3

Secretary of State
Dee Dawkins-Haigler         B    D            41.0          40.8           41.5                    21.4         22.4
John Barrow                 W    D            39.2          35.8           35.4                    68.0         67.3
Rakeim Hadley               B    D            19.8          23.3           23.2                    10.6         10.3

School Superintendent
Otha Thornton               B    D            49.7          52.4           52.6                    22.6         22.9
Sam Mosteller               B    D            17.7          17.9           17.3                    23.0         22.3
Sid Chapman                 W    D            32.6          29.6           30.2                    54.4         54.8

  2016 Democratic Primary
US Senate
Cheryl Copeland             B    D            45.1          47.7           47.0      22.9          24.9         24.7
Jim Barksdale               W    D            52.5          50.5           51.1      69.8          67.7         67.6
John Coyne                  W    D             2.4           1.8            2.5       7.3           7.5          7.6
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                                          Estimates of Voting Patterns by Race in Recent Statewide Elections
  Southern Atlants Metro
     Region (Area 2)                               Black Voters                           White Voters
                             Race Party     HP          ER          EI          HP            ER         EI
        2021 Runoffs
US Special Senate Runoff
Raphael Warnock              B    D                      114.3           99.2                     6.8          8.1
Kelly Loeffler               W    R                      -14.2            0.8                    93.2         82.0

US Senate Runoff
Jon Ossoff                   W    D                      114.1           98.1                     6.3          7.5
David Perdue                 W    R                      -14.1            0.7                    93.7         92.7

        2020 General
US Senate
Jon Ossoff                   W    D                      110.7           99.3       9.0           5.5          5.7
Shane Hazel                  W    L                        2.3            2.2       1.3           2.2          2.5
David Perdue                 W    R                      -12.9            0.7      89.7          92.4         91.9

US Special Senate
Raphael Warnock              B    D                       77.4           77.3       6.8           5.2          5.1
Doug Colllins                W    R                       -5.6            0.7      34.1          35.4         34.5
Kelly Loeffler               W    R                       -8.5            0.7      50.8          51.9         51.7
Others                                                    36.6           37.2       8.3           7.5          7.4

        2018 General
Governor
Stacey Abrams                B    D                      112.3           99.2      10.2           4.0          5.3
Ted Metz                     W    L                        0.2            0.5       0.7           1.3          1.4
Brian Kemp                   W    R                      -12.5            0.7      89.1          94.7         93.4

Commissioner of Insurance
Janice Laws               B       D                      109.9           99.3      10.3           3.4          3.9
Donnie Foster             W       L                        1.9            1.9       1.8           2.7          3.1
Jim Beck                  W       R                      -11.9            0.7      87.9          93.9         93.3

School Superintendent
Otha Thornton                B    D                      110.8           99.4      10.0           2.8          3.7
Richard Woods                W    R                      -10.8            0.6      90.0          97.2         96.3

  2020 Democratic Primary
US Senate
James Knox                   B    D                        4.4            4.0                     2.9          3.9
Jon Ossoff                   W    D                       58.0           58.1                    54.1         53.6
Marckeith DeJesus            B    D                        4.5            4.8                     1.3          1.6
Maya Dillard Smith           B    D                       11.0           11.6                     0.9          1.3
Sarah Riggs Amico            W    D                       12.7           12.2                    12.9         13.1
Teresa Pike Tomlinson        W    D                        6.4            6.6                    26.2         24.7
Tricia Carpenter McCracken   W    D                        3.0            3.0                     1.6          2.2
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                                         Estimates of Voting Patterns by Race in Recent Statewide Elections
  Southern Atlants Metro
     Region (Area 2)                                 Black Voters                      White Voters
                            Race Party     HP            ER           EI          HP       ER          EI
  2018 Democratic Primary
Governor
Stacey Abrams               B    D            84.7          89.3           88.7               46.0          47.6
Stacey Evans                W    D            15.3          10.7           11.2               54.0          52.4

Lieutenant Governor
Sarah Riggs Amico           W    D            44.5          39.1           37.8               89.1          88.4
Triana Arnold James         B    D            55.5          60.9           62.2               10.8          11.8

Commissioner of Insurance
Cindy Zeldin              W      D            27.0          23.8           23.4               57.1          58.6
Janice Laws               B      D            73.0          76.3           76.6               42.7          41.5

Commissioner of Labor
Fred Quinn                  B    D            49.9          50.3           51.1               46.3          44.0
Richard Keatley             W    D            50.1          49.8           48.8               53.8          55.7

Secretary of State
Dee Dawkins-Haigler         B    D            30.9          33.2           24.3               24.6          25.7
John Barrow                 W    D            44.5          40.7           39.0               65.9          65.1
Rakeim Hadley               B    D            24.6          26.0           27.2                9.3           8.2

School Superintendent
Otha Thornton               B    D            47.2          52.0           52.4               20.3          24.5
Sam Mosteller               B    D            18.1          16.1           15.9               30.0          27.8
Sid Chapman                 W    D            34.7          32.0           32.4               49.7          46.5

  2016 Democratic Primary
US Senate
Cheryl Copeland             B    D            48.3          49.1           49.7               31.2          31.9
Jim Barksdale               W    D            49.5          49.5           48.1               62.9          64.6
John Coyne                  W    D             2.2           1.4            1.0                5.9           6.7
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                                           Estimates of Voting Patterns by Race in Recent Statewide Elections
 East Central Georgia (Area
             3)                                        Black Voters                           White Voters
                              Race Party     HP            ER           EI          HP            ER         EI
        2021 Runoffs
US Special Senate Runoff
Raphael Warnock               B    D                         109.2           99.3      12.8           6.0          8.7
Kelly Loeffler                W    R                          -9.2            0.7      87.2          94.0         91.8

US Senate Runoff
Jon Ossoff                    W    D                         108.9           99.3      12.6           5.9          8.5
David Perdue                  W    R                          -8.9            0.7      87.4          94.1         91.5

        2020 General
US Senate
Jon Ossoff                    W    D                         104.7           99.0      11.9           5.3          6.5
Shane Hazel                   W    L                           2.4            2.4       1.6           1.8          1.6
David Perdue                  W    R                          -7.1            0.8      86.5          92.9         91.8

US Special Senate
Raphael Warnock               B    D                          70.3           72.1       8.6           4.1          4.0
Doug Colllins                 W    R                          -3.1            0.0      35.4          35.6         32.5
Kelly Loeffler                W    R                          -6.0            0.9      46.4          52.8         51.4
Others                                                        38.7           39.7       9.4           7.5          7.1

        2018 General
Governor
Stacey Abrams                 B    D                         107.5           99.3      10.6           3.6          7.0
Ted Metz                      W    L                           0.3            0.6       0.5           0.9          0.3
Brian Kemp                    W    R                          -8.9            0.6      88.8          95.5         92.2

Comissioner of Insurance
Janice Laws                   B    D                         105.0           99.2      10.7           3.1          5.6
Donnie Foster                 W    L                           1.5            1.5       1.6           2.2          2.2
Jim Beck                      W    R                          -6.5            0.8      87.6          94.7         92.6

School Superintendent
Otha Thornton                 B    D                         109.8            na       10.6           2.9          5.7
Richard Woods                 W    R                          -5.7            na       89.4          97.1         94.3

  2020 Democratic Primary
US Senate
James Knox                    B    D             7.8           7.1            6.6                    12.3         10.6
Jon Ossoff                    W    D            40.9          45.8           46.3                    43.1         41.3
Marckeith DeJesus             B    D             5.1           5.4            4.6                     3.4          3.0
Maya Dillard Smith            B    D            16.7          14.6           15.1                     3.6          4.7
Sarah Riggs Amico             W    D            14.5          14.7           14.1                    14.1         15.1
Teresa Pike Tomlinson         W    D            11.1           8.5            8.4                    18.6         20.5
Tricia Carpenter McCracken    W    D             4.0           3.9            3.7                     4.8          5.1
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                                           Estimates of Voting Patterns by Race in Recent Statewide Elections
 East Central Georgia (Area
             3)                                        Black Voters                           White Voters
                              Race Party     HP            ER           EI          HP            ER         EI
  2018 Democratic Primary
Governor
Stacey Abrams                 B    D            78.0          83.8           82.8      30.9          41.2         47.3
Stacey Evans                  W    D            22.0          16.2           17.1      69.1          58.7         52.4

Lieutenant Governor
Sarah Riggs Amico             W    D            47.4          43.8           52.6      67.7          78.5         82.7
Triana Arnold James           B    D            52.6          56.2           57.4      32.3          21.5         17.0

Commissioner of Insurance
Cindy Zeldin              W        D            18.9          19.7           19.1      38.9          51.4         54.7
Janice Laws               B        D            81.1          80.3           80.9      61.1          48.6         45.4

Commissioner of Labor
Fred Quinn                    B    D            53.6          55.5           55.1      40.9          40.5         40.6
Richard Keatley               W    D            46.4          44.5           44.9      59.1          59.3         59.5

Secretary of State
Dee Dawkins-Haigler           B    D            22.3          24.9           27.4      11.3          16.4         14.0
John Barrow                   W    D            65.2          59.3           54.9      85.8          77.3         79.5
Rakeim Hadley                 B    D            12.5          15.8           18.0       2.8           6.2          4.3

School Superintendant
Otha Thornton                 B    D            46.2          50.2           50.6      17.2          21.1         24.9
Sam Mosteller                 B    D            19.2          18.1           17.8      31.2          29.8         29.9
Sid Chapman                   W    D            34.5          31.8           31.9      51.6          49.1         45.4

  2016 Democratic Primary
US Senate
Cheryl Copeland               B    D            48.1          49.7           50.2      22.4          24.3         24.2
Jim Barksdale                 W    D            48.5          47.1           46.6      71.7          70.5         69.2
John Coyne                    W    D             3.3           3.2            3.5       5.9           5.3          5.7
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                                          Estimates of Voting Patterns by Race in Recent Statewide Elections
Southeastern Atlanta Metro
     Region (Area 4)                               Black Voters                           White Voters
                             Race Party     HP          ER          EI          HP            ER         EI
        2021 Runoffs
US Special Senate Runoff
Raphael Warnock              B    D                      113.1           99.3      14.6           7.9          7.7
Kelly Loeffler               W    R                      -13.1            0.8      85.4          92.1         92.3

US Senate Runoff
Jon Ossoff                   W    D                      113.0           99.3      14.2           7.5          7.2
David Perdue                 W    R                      -13.0            0.7      85.8          92.5         92.8

        2020 General
US Senate
Jon Ossoff                   W    D                      109.3            na       13.4           6.8          6.9
Shane Hazel                  W    L                        2.3            na        1.8           2.1          2.3
David Perdue                 W    R                      -11.7            na       84.8          91.1         92.7

US Special Senate
Raphael Warnock              B    D                       76.3           76.3      10.2           6.3          6.0
Doug Colllins                W    R                       -5.1            0.7      34.1          34.5         34.4
Kelly Loeffler               W    R                       -8.0            0.6      46.7          51.9         51.9
Others                                                    36.8           36.9       8.9           7.2          7.3

        2018 General
Governor
Stacey Abrams                B    D                        11.5          99.2      12.4           4.9          5.3
Ted Metz                     W    L                         0.2           0.5       0.7          12.5          1.3
Brian Kemp                   W    R                       -11.7           0.8      86.9          93.9         93.9

Commissioner of Insurance
Janice Laws               B       D                      109.1           99.3      12.2           4.2          4.1
Donnie Foster             W       L                        1.9            1.8       2.0           2.6          2.9
Jim Beck                  W       R                      -10.9            0.7      85.8          93.1         93.8

School Superintendent
Otha Thornton                B    D                      110.2           99.3      12.0           3.6          4.0
Richard Woods                W    R                      -10.2            0.7      88.0          96.4         96.0

  2020 Democratic Primary
US Senate
James Knox                   B    D                        4.4            4.1                     2.3          2.6
Jon Ossoff                   W    D                       57.3           57.9                    57.3         57.9
Marckeith DeJesus            B    D                        4.5            4.4                     1.2          1.5
Maya Dillard Smith           B    D                       11.3           11.5                     2.2          2.3
Sarah Riggs Amico            W    D                       12.8           12.4                    13.1         13.0
Teresa Pike Tomlinson        W    D                        6.6            6.7                    22.9         23.0
Tricia Carpenter McCracken   W    D                        3.2            3.2                     1.1          1.7
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                                          Estimates of Voting Patterns by Race in Recent Statewide Elections
Southeastern Atlanta Metro
     Region (Area 4)                                  Black Voters                      White Voters
                             Race Party     HP            ER           EI          HP       ER          EI
  2018 Democratic Primary
Governor
Stacey Abrams                B    D            84.5          88.4           88.6               45.2          44.9
Stacey Evans                 W    D            15.5          11.6           11.4               54.7          54.7

Lieutenant Governor
Sarah Riggs Amico            W    D            43.9          39.4           38.6               90.6          88.0
Triana Arnold James          B    D            56.1          60.6           61.3                9.7          12.1

Commissioner of Insurance
Cindy Zeldin              W       D            26.7          23.7           23.7               55.0          56.2
Janice Laws               B       D            73.3          76.3           76.4               45.1          44.1

Commissioner of Labor
Fred Quinn                   B    D            50.3          51.4           51.6               44.7          44.9
Richard Keatley              W    D            49.7          48.6           48.4               55.4          55.5

Secretary of State
Dee Dawkins-Haigler          B    D            31.7          33.7           35.0               24.6          25.7
John Barrow                  W    D            43.8          40.2           38.7               70.2          68.3
Rakeim Hadley                B    D            34.4          26.0           26.0                5.3           6.2

School Superintendent
Otha Thornton                B    D            47.3          50.8           51.4               21.5          24.8
Sam Mosteller                B    D            18.3          16.7           16.8               30.4          29.4
Sid Chapman                  W    D            34.4          32.5           32.8               48.1          46.3

  2016 Democratic Primary
US Senate
Cheryl Copeland              B    D            47.9          48.0           49.2               33.6          30.6
Jim Barksdale                W    D            49.5          50.0           48.7               61.8          65.6
John Coyne                   W    D             2.6           2.0            1.3                4.6           5.9
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                                          Estimates of Voting Patterns by Race in Recent Statewide Elections
  Central Georgia (Area 5)                            Black Voters                           White Voters
                             Race Party     HP            ER           EI          HP            ER         EI
        2021 Runoffs
US Special Senate Runoff
Raphael Warnock              B    D                         100.1           99.0      13.5          10.9         17.0
Kelly Loeffler               W    R                          -0.1            1.2      86.5          89.1         83.0

US Senate Runoff
Jon Ossoff                   W    D                          99.9           98.9      13.3          10.6         16.7
David Perdue                 W    R                           0.0            1.1      86.7          89.2         83.3

        2020 General
US Senate
Jon Ossoff                   W    D                          95.6           98.9      12.6           9.6         15.1
Shane Hazel                  W    L                           1.8            1.8       1.4           1.9          0.8
David Perdue                 W    R                           2.6            1.0      85.9          88.4         84.4

US Special Senate
Raphael Warnock              B    D                          64.8           65.4       9.1           7.8         10.2
Doug Colllins                W    R                           2.2            1.2      36.1          34.7         33.3
Kelly Loeffler               W    R                          -2.4            0.6      46.0          49.9         46.4
Others                                                       35.2           36.5       8.7           7.7          8.1

        2018 General
Governor
Stacey Abrams                B    D                          99.1            na       10.7           7.4         16.3
Ted Metz                     W    L                           0.1            na        0.6           0.8          0.7
Brian Kemp                   W    R                           0.6            na       88.7          91.8         83.2

Commissioner of Insurance
Janice Laws               B       D                          96.4           98.6      10.9           7.4         15.1
Donnie Foster             W       L                           1.3            1.2       1.5           2.0          2.3
Jim Beck                  W       R                           2.6            1.3      87.5          90.6         83.7

School Superintendent
Otha Thornton                B    D                          97.0            na       10.7           7.3         15.2
Richard Woods                W    R                           2.7            na       89.3          92.7         84.8

  2020 Democratic Primary
US Senate
James Knox                   B    D             8.7           9.9            9.1                     7.5          5.8
Jon Ossoff                   W    D            40.3          45.4           44.8                    44.7         45.2
Marckeith DeJesus            B    D             4.2           4.4            4.4                     2.9          2.2
Maya Dillard Smith           B    D            12.9          12.4           12.5                     4.5          3.9
Sarah Riggs Amico            W    D            16.4          16.0           16.7                    15.3         14.9
Teresa Pike Tomlinson        W    D            14.0           7.9            9.0                    21.7         26.4
Tricia Carpenter McCracken   W    D             3.5           4.0            3.6                     3.3          2.4
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                                          Estimates of Voting Patterns by Race in Recent Statewide Elections
  Central Georgia (Area 5)                            Black Voters                      White Voters
                             Race Party     HP            ER           EI          HP       ER          EI
  2018 Democratic Primary
Governor
Stacey Abrams                B    D            79.2          79.5           80.7               54.1          64.0
Stacey Evans                 W    D            20.8          20.5           19.3               45.9          36.0

Lieutenant Governor
Sarah Riggs Amico            W    D            45.7          46.0           45.2               77.4          75.9
Triana Arnold James          B    D            54.3          54.0           54.9               22.5          23.9

Commissioner of Insurance
Cindy Zeldin              W       D            23.9          20.8           21.1               56.7          63.9
Janice Laws               B       D            76.1          79.3           78.8               43.3          35.9

Commissioner of Labor
Fred Quinn                   B    D            59.9          60.7           61.1               37.2          38.5
Richard Keatley              W    D            40.1          39.3           38.9               62.8          61.5

Secretary of State
Dee Dawkins-Haigler          B    D            26.8          25.1           24.6               15.5          15.1
John Barrow                  W    D            61.2          64.2           64.2               72.7          71.2
Rakeim Hadley                B    D            12.0          10.7           12.6               11.8          12.9

School Superintendent
Otha Thornton                B    D            45.0          45.5           46.9               23.6          29.4
Sam Mosteller                B    D            19.7          20.3           19.1               23.3          18.0
Sid Chapman                  W    D            35.3          34.2           33.5               53.2          50.3

  2016 Democratic Primary
US Senate
Cheryl Copeland              B    D            48.1          48.6           49.4               23.1          18.6
Jim Barksdale                W    D            48.0          46.9           47.2               72.1          73.3
John Coyne                   W    D             3.9           4.6            5.5                4.9           4.6
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                                          Estimates of Voting Patterns by Race in Recent Statewide Elections
Southwest Georgia (Area 6)                            Black Voters                           White Voters
                             Race Party     HP            ER           EI          HP            ER         EI
        2021 Runoffs
US Special Senate Runoff
Raphael Warnock              B    D            97.4         106.0           99.0       9.6           3.6          7.7
Kelly Loeffler               W    R             2.6          -6.0            1.0      90.4          96.4         92.4

US Senate Runoff
Jon Ossoff                   W    D            97.2         105.9            na        9.7           3.6          7.8
David Perdue                 W    R             2.8          -5.9            na       90.3          96.4         92.2

        2020 General
US Senate
Jon Ossoff                   W    D            93.5         101.8           98.9      10.1           3.5          5.2
Shane Hazel                  W    L             1.3           1.6            2.0       1.2           1.6          1.8
David Perdue                 W    R             5.2          -3.4            0.7      88.7          94.9         92.6

US Special Senate
Raphael Warnock              B    D            67.6          66.1           65.3       4.4          -0.8          0.2
Doug Colllins                W    R             1.3          -3.4            0.9      45.5          43.9         40.2
Kelly Loeffler               W    R             1.8          -1.7            1.0      37.3          44.5         44.8
Others                                         29.3          38.7           43.0      12.7          12.4         11.2

        2018 General
Governor
Stacey Abrams                B    D            97.3         104.9           99.0       8.6           2.1          6.1
Ted Metz                     W    L             0.2           0.3            0.5       0.6           0.5          0.5
Brian Kemp                   W    R             2.5          -5.2            0.6      90.8          97.4         93.3

Commissioner of Insurance
Janice Laws               B       D            95.5         102.5           99.0       9.3           2.3          5.1
Donnie Foster             W       L             1.4           1.6            2.0       1.4           1.3          1.4
Jim Beck                  W       R             3.1          -4.1            0.8      89.4          96.4         93.1

School Superintendent
Otha Thornton                B    D            95.8         102.7           99.1       8.9           1.8          4.5
Richard Woods                W    R             4.2          -2.7            0.8      91.1          98.2         95.6

  2020 Democratic Primary
US Senate
James Knox                   B    D             8.6           8.2            9.0                    15.7         12.7
Jon Ossoff                   W    D            50.9          44.9           44.5                    10.7         12.5
Marckeith DeJesus            B    D             5.0           6.0            5.9                     4.3          0.0
Maya Dillard Smith           B    D            11.8          13.5           14.5                     6.6          5.7
Sarah Riggs Amico            W    D            11.3          12.9           12.1                    18.4         19.8
Teresa Pike Tomlinson        W    D             8.7          11.0           10.8                    36.6         40.0
Tricia Carpenter McCracken   W    D             3.8           3.3            3.4                     7.5          6.6
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                                          Estimates of Voting Patterns by Race in Recent Statewide Elections
Southwest Georgia (Area 6)                            Black Voters                           White Voters
                             Race Party     HP            ER           EI          HP            ER         EI
  2018 Democratic Primary
Governor
Stacey Abrams                B    D            81.8          86.5           84.0                    44.3         48.8
Stacey Evans                 W    D            18.2          13.5           15.9                    55.9         52.7

Lieutenant Governor
Sarah Riggs Amico            W    D            39.2          39.2           38.9                    74.6         70.1
Triana Arnold James          B    D            60.8          60.8           61.1                    25.3         29.4

Commissioner of Insurance
Cindy Zeldin              W       D            20.0          20.5           20.4                    48.9         44.7
Janice Laws               B       D            80.0          79.6           79.6                    51.2         54.3

Commissioner of Labor
Fred Quinn                   B    D            56.9          54.6           55.5                    50.5         50.2
Richard Keatley              W    D            43.1          45.5           44.3                    49.7         48.5

Secretary of State
Dee Dawkins-Haigler          B    D            29.2          28.8           27.9                    27.5         35.2
John Barrow                  W    D            48.2          46.0           46.9                    62.6         50.2
Rakeim Hadley                B    D            22.6          25.2           24.3                     9.7          4.7

School Superintendent
Otha Thornton                B    D            49.7          48.1           49.0                    23.5         30.2
Sam Mosteller                B    D            17.8          19.8           16.2                    24.3         33.2
Sid Chapman                  W    D            32.5          32.0           31.7                    52.1         45.2

  2016 Democratic Primary
US Senate
Cheryl Copeland              B    D            48.3          52.0           49.3      42.7          45.9         46.9
Jim Barksdale                W    D            48.2          44.5           46.3      48.7          46.4         47.1
John Coyne                   W    D             3.5           3.3            1.3       8.5           7.7          9.6
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               Appendix B
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                                                Estimates of Voting Patterns by Race in Recent State Legislative Elections
    Recent State Senate
        Contests                                        Black Voters                             White Voters
                             Race Party Vote     HP           ER             EI          HP            ER            EI
    General Elections 2020
State Senate 16 2020
Cinquez Jester               B    D      31.8                   102.7          99.0                        4.3          6.0
Marty Harbin                 W    R      68.2                    -3.0           1.1                       95.7         94.0
Black turnout/VAP                        57.3
White turnout/VAP                        73.4
State Senate 20 2020
Julius Johnson               B    D      35.0                   107.0          98.7                        1.4          2.6
Larry Walker                 W    R      65.0                    -7.1           1.1                       98.6         97.7
Black turnout/VAP                        56.2
White turnout/VAP                        67.0
State Senate 23 2020
Ceretta Smith                B    D      40.7                   101.6          98.7          8.4           2.7          4.8
Max Burns                    W    R      59.3                    -1.5           1.7         91.6          97.3         95.0
Black turnout/VAP                        56.3
White turnout/VAP                        64.3
State Senate 25 2020
Veronica Brinson             B    D      32.3                   110.9          98.8         13.1           3.5          7.4
Burt Jones                   W    R      67.7                   -11.0           0.7         86.9          96.5         92.5
Black turnout/VAP                        51.7
White turnout/VAP                        69.9

   General Elections 2018
State Senate 17 2018
Phyllis Hatcher              B    D      45.5                   115.7          99.1                        1.1          2.9
Brian Strickland             W    R      54.5                   -15.6           1.0                       98.9         97.1
Black turnout/VAP                        48.0
White turnout/VAP                        60.0
State Senate 34 2018
Valencia Seay                B    D      82.9                   107.5          99.5                        7.2          6.6
Tommy Smith                  W    R      17.1                    -7.5           0.4                       92.8         90.1
Black turnout/VAP                        45.5
White turnout/VAP                        51.3

    General Elections 2016
State Senate 17 2016
Bill Blackmon                B    D      40.4                   116.7          99.4                        2.0          3.0
Rick Jeffares                W    R      59.6                   -16.6           1.1                       98.0         97.0
Black turnout/VAP                        42.7
White turnout/VAP                        67.0
State Senate 43 2016
Tonya Anderson               B    D      70.4       96.0        104.8          99.3                        2.4          3.3
Janice Van Ness              W    R      29.6        4.0         -4.8           0.8                       97.6         96.6
Black turnout/VAP                        47.5
White turnout/VAP                        60.6
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                                             Estimates of Voting Patterns by Race in Recent State Legislative Elections
   Recent State House
       Contests                                      Black Voters                              White Voters
                           Race Party Vote   HP            ER            EI            HP            ER             EI
  General Elections 2020
State House 63 2020
Debra Bazemore             B    D     78.8                  101.0             99.4                      17.4             16.9
David Callahan             W    R     21.2                   -1.2              0.6                      82.8             83.4
Black turnout/VAP                     61.6
White turnout/VAP                     73.4
State House 110 2020                                        116.8             95.6                      -3.1              2.9
Ebony Carter               B    D     44.2                  -17.0              4.4                     103.0             97.0
Clint Crowe                W    R     55.8
Black turnout/VAP                     61.7
White turnout/VAP                     63.0
State House 129 2020
Sharonda Bell              B    D     26.3                    93.2            98.2                       1.3              4.1
Susan Holmes               W    R     69.6                     9.4            13.7                      94.0             92.6
Joe Reed                   W    I      4.2                    -3.2            11.2                       4.6              2.4
Black turnout/VAP                     49.3
White turnout/VAP                     73.0
State House 130 2020
Sheila Henley              B    D     41.6                  106.5             99.2                       3.3              5.6
David Knight               W    R     58.4                   -6.5              0.6                      96.7             94.5
Black turnout/VAP                     53.8
White turnout/VAP                     65.7
State House 138 2020
Marc Arnett                B    D     46.2                  106.5             98.5                       3.3              8.3
Mike Cheokas               W    R     53.9                   -6.4              1.1                      96.7             92.1
Black turnout/VAP                     49.2
White turnout/VAP                     55.6
State House 145 2020
Quentin Howell             B    D     43.8                  109.9             97.5                       8.8              9.7
Ricky Williams             W    R     56.2                   -9.9              1.4                      91.5             90.1
Black turnout/VAP                     47.1
White turnout/VAP                     59.2
State House 173 2020
Booker Gainor              B    D     40.6                  103.1             96.8                       5.5              8.1
Darlene Taylor             W    R     59.4                   -3.0              3.1                      94.4             91.8
Black turnout/VAP                     51.7
White turnout/VAP                     63.9

  General Elections 2018
State House 111 2018
El-Mahdi Holly           B      D     56.6                  124.1             96.7                      -7.7              6.7
Geoffrey Cauble          W      R     43.4                  -23.9              3.2                     107.5             93.3
Black turnout/VAP                     48.3
White turnout/VAP                     61.7
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                                             Estimates of Voting Patterns by Race in Recent State Legislative Elections
   Recent State House
       Contests                                      Black Voters                              White Voters
                           Race Party Vote   HP            ER            EI            HP            ER             EI
State House 128 2018
Mack Jackson               B    D     57.0                  101.0             98.6         8.8           9.6             15.0
Jackson Williams           W    R     43.0                   -0.9              1.0        91.2          90.5             85.0
Black turnout/VAP                     47.4
White turnout/VAP                     58.3
State House 152 2018
Marcus Batten              B    D     26.0                  102.7             98.6         8.9           1.1              3.7
Ed Rynders                 W    R     74.0                   -2.6              0.8        91.1          98.9             96.3
Black turnout/VAP                     45.2
White turnout/VAP                     56.0
State House 175 2018
Treva Gear                 B    D     28.5                    92.1            74.9                       4.6              5.4
John LaHood                W    R     71.5                     7.2            23.5                      95.3             94.7
Black turnout/VAP                     46.4
White turnout/VAP                     47.2

  General Elections 2016
State House 73 2016
Rahim Talley               B    D     35.5                  105.4             98.2                       1.5              2.2
Karen Mathiak              W    R     64.5                   -5.2              1.7                      98.5             97.7
Black turnout/VAP                     46.4
White turnout/VAP                     63.5
State House 111 2016
Darryl Payton              B    D     48.3                  120.9             99.2                      -4.3              5.7
Brian Strickland           W    R     51.7                  -20.8              0.8                     104.3             94.8
Black turnout/VAP                     40.7
White turnout/VAP                     70.5
State House 145 2016
Floyd Griffin              B    D     43.4                  108.1             99.3        14.6           6.7              8.6
Ricky Williams             W    R     56.6                   -8.0              0.9        85.4          93.4             91.3
Black turnout/VAP                     43.3
White turnout/VAP                     52.0
State House 173 2016
Tommy Hill                 B    D     38.9                    99.7            97.0        13.3           5.6              6.7
Darlene Taylor             W    R     61.1                     0.2             3.1        86.7          94.5             93.4
Black turnout/VAP                     46.8
White turnout/VAP                     56.2
State House 177 2016
Dexter Sharper             B    D     64.4                    93.3            95.2                      36.1             40.4
Deidra White               W    R     35.6                     6.2             4.9                      64.5             59.6
Black turnout/VAP                     30.6
White turnout/VAP                     65.1
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                                             Estimates of Voting Patterns by Race in Recent State Legislative Elections
   Recent State House
       Contests                                      Black Voters                              White Voters
                          Race Party Vote    HP            ER            EI            HP            ER             EI
Democratic Primaries 2018
State House 152 2018
Marcus Batten             B    D      57.9                    60.8            63.3                      40.2             37.1
Mary Egler                W    D      42.1                    39.3            36.7                      59.7             62.9
Black turnout/VAP                    14.3
White turnout/VAP                      1.1
State House 153 2018
CaMia Whitaker Hopson     B    D      51.3      43.0          42.4            43.7                      96.0             92.3
Darrel Ealum              W    D      48.7      57.0          57.5            56.3                       4.7              6.6
Black turnout/VAP                    13.9
White turnout/VAP                      4.6

Democratic Primaries 2016
State House 153 2016
Darrel Ealum              W   D      56.8       43.2          40.3            40.1                      90.9             92.0
Muarlean Edwards          B   D      29.8       42.8          45.3            44.4                      -0.1              0.1
Antonio Screen            B   D      13.4       14.0          14.2            17.4                      14.2              9.2
Black turnout/VAP                    14.9
White turnout/VAP                    14.9
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               Appendix C
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   Appendix Table C1: Effectiveness of Previous State Senate Districts that
             Overlap Additional Illustrative State Senate Districts


                                     % of
       Illustrative   Previous   Illustrative
           State        State     District in
          Senate       Senate     Previous      BVAP       GE            Pr
           Plan         Plan       District       %      Score        Score
           017          010        17.6%        74.98%   0.786        0.634
           017          017        53.7%        41.72%   0.451        0.604
           017          043        28.5%        68.74%   0.726        0.630


           023          022        13.4%        58.76%   0.670        0.605
           023          023        30.3%        35.62%   0.376        0.580
           023          025        22.7%        28.50%   0.315        0.556
           023          026        29.5%        60.14%   0.630        0.584


           028          016        40.7%        22.00%   0.308        0.521
           028          034        27.7%        68.34%   0.779        0.617
           028          044        31.6%        72.43%   0.838        0.603
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   Appendix Table C2: Effectiveness of Previous State House Districts that
            Overlap Additional Illustrative State House Districts


                                 % of
       Illustrative Previous Illustrative
           State     State    District in
          House      House      Prior     BVAP       GE        Pr
           Plan       Plan     District   %          Score     Score
          073         063        13.6%      71.31%     0.739        0.625
          073         073        38.0%      35.12%     0.413        0.596
          073         075         6.4%      74.27%     0.821        0.617
          073         078        41.8%      68.59%     0.769        0.616


          110         073        19.4%      35.12%     0.413        0.596
          110         111        23.1%      51.56%     0.557        0.620
          110         130        57.5%      36.30%     0.390        0.553


          144         120        12.6%      26.62%     0.323        0.570
          144         128        23.6%      54.62%     0.491        0.562
          144         144        15.0%      27.24%     0.345        0.559
          144         145        48.8%      38.94%     0.428        0.581


          153         153        33.4%      65.15%     0.619        0.646
          153         171        36.1%      38.61%     0.325        0.586
          153         172         8.1%      27.69%     0.273        0.582
          153         173        21.4%      35.38%     0.376        0.616
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              Appendix D
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                                            Lisa R. Handley
                                           CURRICULUM VITAE


Professional Experience

Dr. Handley has over thirty years of experience in the areas of redistricting and voting rights, both as a
practitioner and an academician, and is recognized nationally and internationally as an expert on these
subjects. She has advised numerous clients on redistricting and has served as an expert in dozens of
redistricting and voting rights court cases. Her clients have included the U.S. Department of Justice,
civil rights organizations, independent redistricting commissions and scores of state and local
jurisdictions. Internationally, Dr. Handley has provided electoral assistance in more than a dozen
countries, serving as a consultant on electoral system design and redistricting for the United Nations,
UNDP, IFES, and International IDEA. In addition, Dr. Handley served as Chairman of the Electoral
Boundaries Commission in the Cayman Islands.

Dr. Handley has been actively involved in research, writing and teaching on the subjects of redistricting
and voting rights. She has co-written a book, Minority Representation and the Quest for Voting
Equality (Cambridge University Press, 1992) and co-edited a volume (Redistricting in Comparative
Perspective, Oxford University Press, 2008) on these subjects. Her research has also appeared in peer-
reviewed journals such as Journal of Politics, Legislative Studies Quarterly, American Politics Quarterly,
Journal of Law and Politics, and Law and Policy, as well as law reviews and edited books. She has
taught political science undergraduate and graduate courses related to these subjects at several
universities including the University of Virginia and George Washington University. Dr. Handley is a
Visiting Research Academic at Oxford Brookes University in the United Kingdom.

Dr. Handley is the President of Frontier International Consulting, a consulting firm that specializes in
providing electoral assistance in transitional and post-conflict democracies. She also works as an
independent election consultant both in the United States and internationally.

Education

Ph.D. The George Washington University, Political Science, 1991

Present Employment

President, Frontier International Electoral Consulting LLC (since co-founding company in 1998).

Senior International Electoral Consultant Technical assistance for clients such as the UN, UNDP and
IFES on electoral system design and boundary delimitation

Visiting Research Academic, Centre for Development and Emergency Practice (CENDEP), Oxford
Brookes University
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U.S. Clients since 2000
American Civil Liberties Union – redistricting consultant, expert testimony in Ohio partisan
gerrymander challenge and challenge to Commerce Department inclusion of citizenship question on
2020 census form

Lawyers Committee for Civil Rights Under Law – expert testimony in challenges to statewide judicial
elections in Texas and Alabama

US Department of Justice – expert witness testimony in several Section 2 and Section 5 cases)

Alaska: Redistricting Board (2000 and 2010) – redistricting consultation, expert witness testimony

Arizona: Independent Redistricting Board (2000 and 2010) – redistricting consultation
Colorado: Redistricting Commission (2020), Redistricting Board (2000 and 2010) – redistricting
consultation
Connecticut: State Senate and State House of Representatives (2000 and 2010) – redistricting
consultation

Florida: State Senate (2000) – redistricting consultation

Kansas: State Legislative Research Department (2000, 2010, 2020) – redistricting consultation

Louisiana: Louisiana Legislative Black Caucus (2000) – expert witness testimony

Massachusetts: State Senate (2000 and 2010) – redistricting consultation

Maryland: Attorney General (2000) – redistricting consultation

Michigan: Redistricting Commission (2020) – redistricting consultation

Miami-Dade County, Florida: County Attorney (2000 and 2010) – redistricting consultation

Nassau County, New York: Redistricting Commission (2000) – redistricting consultation

New Mexico: State House (2000) – redistricting consultation, expert witness testimony

New York: State Assembly (2000), State Senate (2020) – redistricting consultation
New York City: Redistricting Commission and Charter Commission (2001, 2011) – redistricting
consultation and Section 5 submission assistance

New York State Court: Expert to the Special Master (drew congressional lines for state court)

Rhode Island: State Senate and State House (2000 and 2020) – redistricting consultation

Vermont: Secretary of State (2000) – redistricting consultation


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International Clients since 2000

United Nations
   • Afghanistan – electoral system design and district delimitation expert
   • Bangladesh (UNDP) – redistricting expert
   • Sierra Leone (UNDP) – redistricting expert
   • Liberia (UNMIL, UN peacekeeping mission) – redistricting expert
   • Democratic Republic of the Congo (MONUC, UN peacekeeping mission) – election feasibility
       mission, electoral system design and redistricting expert
   • Kenya (UN) – electoral system design and redistricting expert
   • Haiti (UN) – election feasibility mission, electoral system design and redistricting expert
   • Zimbabwe (UNDP) – redistricting expert
   • Lead Writer on the topic of boundary delimitation (redistricting) for ACE (Joint UN, IFES and
       IDEA project on the Administration and Cost of Elections Project)

International Foundation for Election Systems (IFES)
    • Afghanistan – district delimitation expert
    • Sudan – redistricting expert
    • Kosovo – electoral system design and redistricting expert
    • Nigeria – redistricting expert
    • Nepal – redistricting expert
    • Georgia – electoral system design and district delimitation expert
    • Yemen – redistricting expert
    • Lebanon – electoral system design and redistricting expert
    • Malaysia – electoral system design and redistricting expert
    • Myanmar – electoral system design and redistricting expert
    • Ukraine – electoral system design and redistricting expert
    • Pakistan – consultant for developing redistricting software
    • Principal consultant for the Delimitation Equity Project – conducted research, wrote reference
       manual and developed training curriculum
    • Writer on electoral boundary delimitation (redistricting), Elections Standards Project
    • Training – developed training curriculum and conducted training workshops on electoral
       boundary delimitation (redistricting ) in Azerbaijan and Jamaica

International Institute for Democracy and Electoral Assistance (International IDEA):
    • Consultant on electoral dispute resolution systems
    • Technology consultant on use of GIS for electoral district delimitation
    • Training – developed training material and conducted training workshop on electoral boundary
       delimitation (redistricting ) for African election officials (Mauritius)
    • Curriculum development – boundary delimitation curriculum for the BRIDGE Project

Other international clients have included The Cayman Islands; the Australian Election Commission; the
Boundary Commission of British Columbia, Canada; and the Global Justice Project for Iraq.
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Publications
Books:

Does Torture Prevention Work? Liverpool University Press, 2016 (served as editor and author, with
Richard Carver)

Comparative Redistricting in Perspective, Oxford University Press, 2008 (first editor, with Bernard
Grofman).

Delimitation Equity Project: Resource Guide, Center for Transitional and Post-Conflict Governance at
IFES and USAID publication, 2006 (lead author).

Minority Representation and the Quest for Voting Equality, Cambridge University Press, 1992 (with
Bernard Grofman and Richard Niemi).

Academic Journal Articles:

“Drawing Electoral Districts to Promote Minority Representation” Representation, forthcoming,
published online DOI:10.1080/00344893.2020.1815076.

"Evaluating national preventive mechanisms: a conceptual model,” Journal of Human Rights Practice,
Volume 12 (2), July 2020 (with Richard Carver).

“Minority Success in Non-Majority Minority Districts: Finding the ‘Sweet Spot’,” Journal of Race,
Ethnicity and Politics, forthcoming (with David Lublin, Thomas Brunell and Bernard Grofman).

”Has the Voting Rights Act Outlived its Usefulness: In a Word, “No,” Legislative Studies Quarterly,
volume 34 (4), November 2009 (with David Lublin, Thomas Brunell and Bernard Grofman).

“Delimitation Consulting in the US and Elsewhere,” Zeitschrift für Politikberatung, volume 1 (3/4), 2008
(with Peter Schrott).

“Drawing Effective Minority Districts: A Conceptual Framework and Some Empirical Evidence,” North
Carolina Law Review, volume 79 (5), June 2001 (with Bernard Grofman and David Lublin).

“A Guide to 2000 Redistricting Tools and Technology” in The Real Y2K Problem: Census 2000 Data and
Redistricting Technology, edited by Nathaniel Persily, New York: Brennan Center, 2000.

"1990s Issues in Voting Rights," Mississippi Law Journal, 65 (2), Winter 1995 (with Bernard Grofman).

"Minority Turnout and the Creation of Majority-Minority Districts," American Politics Quarterly, 23 (2),
April 1995 (with Kimball Brace, Richard Niemi and Harold Stanley).

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"Identifying and Remedying Racial Gerrymandering," Journal of Law and Politics, 8 (2), Winter 1992
(with Bernard Grofman).

"The Impact of the Voting Rights Act on Minority Representation in Southern State Legislatures,"
Legislative Studies Quarterly, 16 (1), February 1991 (with Bernard Grofman).

"Minority Population Proportion and Black and Hispanic Congressional Success in the 1970s and
1980s," American Politics Quarterly, 17 (4), October 1989 (with Bernard Grofman).

"Black Representation: Making Sense of Electoral Geography at Different Levels of Government,"
Legislative Studies Quarterly, 14 (2), May 1989 (with Bernard Grofman).

"Minority Voting Equality: The 65 Percent Rule in Theory and Practice," Law and Policy, 10 (1), January
1988 (with Kimball Brace, Bernard Grofman and Richard Niemi).

"Does Redistricting Aimed to Help Blacks Necessarily Help Republicans?" Journal of Politics, 49 (1),
February 1987 (with Kimball Brace and Bernard Grofman).

Chapters in Edited Volumes:

“Effective torture prevention,” Research Handbook on Torture, Sir Malcolm Evans and Jens Modvig
(eds), Cheltenham: Edward Elgar, 2020 (with Richard Carver).

“Redistricting” in Oxford Handbook of Electoral Systems, Erik Herron Robert Pekkanen and Matthew
Shugart (eds), Oxford: Oxford University Press, 2018.

“Role of the Courts in the Electoral Boundary Delimitation Process,” in International Election Remedies,
John Hardin Young (ed.), Chicago: American Bar Association Press, 2017.

“One Person, One Vote, Different Values: Comparing Delimitation Practices in India, Canada, the
United Kingdom, and the United States,” in Fixing Electoral Boundaries in India, edited by Mohd.
Sanjeer Alam and K.C. Sivaramakrishman, New Delhi: Oxford University Press, 2015.

“Delimiting Electoral Boundaries in Post-Conflict Settings,” in Comparative Redistricting in Perspective,
edited by Lisa Handley and Bernard Grofman, Oxford: Oxford University Press, 2008.

“A Comparative Survey of Structures and Criteria for Boundary Delimitation,” in Comparative
Redistricting in Perspective, edited by Lisa Handley and Bernard Grofman, Oxford: Oxford University
Press, 2008.

“Drawing Effective Minority Districts: A Conceptual Model,” in Voting Rights and Minority
Representation, edited by David Bositis, published by the Joint Center for Political and Economic
Studies, Washington DC, and University Press of America, New York, 2006.

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 “Electing Minority-Preferred Candidates to Legislative Office: The Relationship Between Minority
Percentages in Districts and the Election of Minority-Preferred Candidates,” in Race and Redistricting in
the 1990s, edited by Bernard Grofman; New York: Agathon Press, 1998 (with Bernard Grofman and
Wayne Arden).

“Estimating the Impact of Voting-Rights-Related Districting on Democratic Strength in the U.S. House of
Representatives,” in Race and Redistricting in the 1990s, edited by Bernard Grofman; New York:
Agathon Press, 1998 (with Bernard Grofman).

“Voting Rights in the 1990s: An Overview,” in Race and Redistricting in the 1990s, edited by Bernard
Grofman; New York: Agathon Press, 1998 (with Bernard Grofman and Wayne Arden).

"Racial Context, the 1968 Wallace Vote and Southern Presidential Dealignment: Evidence from North
Carolina and Elsewhere," in Spatial and Contextual Models in Political Research, edited by Munroe
Eagles; Taylor and Francis Publishing Co., 1995 (with Bernard Grofman).

"The Impact of the Voting Rights Act on Minority Representation: Black Officeholding in Southern State
Legislatures and Congressional Delegations," in The Quiet Revolution: The Impact of the Voting Rights
Act in the South, 1965-1990, eds. Chandler Davidson and Bernard Grofman, Princeton University Press,
1994 (with Bernard Grofman).

"Preconditions for Black and Hispanic Congressional Success," in United States Electoral Systems: Their
Impact on Women and Minorities, eds. Wilma Rule and Joseph Zimmerman, Greenwood Press, 1992
(with Bernard Grofman).

Electronic Publication:

“Boundary Delimitation” Topic Area for the Administration and Cost of Elections (ACE) Project, 1998.
Published by the ACE Project on the ACE website (www.aceproject.org).

Additional Writings of Note:

Amicus brief presented to the US Supreme Court in Gill v. Whitford, Brief of Political Science Professors
as Amici Curiae, 2017 (one of many social scientists to sign brief)


Amicus brief presented to the US Supreme Court in Shelby County v. Holder, Brief of Historians and
Social Scientists as Amici Curiae, 2013 (one of several dozen historians and social scientists to sign
brief)

Amicus brief presented to the US Supreme Court in Bartlett v. Strickland, 2008 (with Nathaniel Persily,
Bernard Grofman, Bruce Cain, and Theodore Arrington).


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Recent Court Cases

Pending cases:

   •   Arkansas State Conference NAACP et al. v. Arkansas Board of Apportionment et al. (Case
       Number: 4:21-cv-01239-LPR) (Eastern District of Arkansas)

   •   League of Women Voters of Ohio et al. v. Ohio Redistricting Commission et al. (Case Number:
       2021-1193) (Supreme Court of Ohio)

   •   League of Women Voters of Ohio et al. v. Governor DeWine (Case Number: 2021-1449)
       (Supreme Court of Ohio)


Ohio Philip Randolph Institute v. Larry Householder (2019) – partisan gerrymander challenge to Ohio
congressional districts; testifying expert for ACLU on minority voting patterns

State of New York v. U.S. Department of Commerce/ New York Immigration Coalition v. U.S.
Department of Commerce (2018-2019) – challenge to inclusion of citizenship question on 2020 census
form; testifying expert on behalf of ACLU

U.S. v. City of Eastpointe (settled 2019) – minority vote dilution challenge to City of Eastpointe,
Michigan, at-large city council election system; testifying expert on behalf of U.S. Department of Justice

Alabama NAACP v. State of Alabama (decided 2020) – minority vote dilution challenge to Alabama
statewide judicial election system; testifying expert on behalf of Lawyers Committee for Civil Rights
Under Law

Lopez v. Abbott (2017-2018) – minority vote dilution challenge to Texas statewide judicial election
system; testifying expert on behalf of Lawyers Committee for Civil Rights Under Law

Personhuballuah v. Alcorn (2015-2017) – racial gerrymandering challenge to Virginia congressional
districts; expert for the Attorney General and Governor of the State of Virginia

Perry v. Perez (2014) – Section 2 case challenging Texas congressional and state house districts;
testifying expert for the U.S. Department of Justice

Jeffers v. Beebe (2012) – Arkansas state house districts; testifying expert for the Plaintiffs

State of Texas v. U.S. (2011-2012) – Section 5 case challenging Texas congressional and state house
districts; testifying expert for the U.S. Department of Justice

In RE 2011 Redistricting Cases (2011-2012) – State legislative districts for State of Alaska; testifying
expert for the Alaska Redistricting Board
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